              Case 18-30765                 Doc 18-2             Filed 09/25/18 Entered 09/25/18 12:29:24                                         Desc Schedule
                                                                         D Page 1 of 3
Fill in this information to identify your case:

 Debtor 1           Kathleen Guevin
                    __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: District of Massachusetts
                                         __________    District of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                               Check if this is an
                                                                                                                                                             amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                                                                                             352,000.00 $________________
                                                                                                                                               202,300.00 $____________
       US Bank, NA
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
       Recovery Department
      ______________________________________
                                                           57 Bonair Ave. W.Springfield, MA 01089
      Number            Street

       P.O. Box 5229                                       As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
       Cincinnati            OH 45201
      ______________________________________                   Unliquidated
      City                          State   ZIP Code           Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
                           02/01/2008
  Date debt was incurred ____________                                                       3 ___
                                                           Last 4 digits of account number ___ 0 ___
                                                                                                  3 ___
                                                                                                     6
2.2                                                                                                                               1,268.00 $________________
                                                                                                                                               202,300.00 $____________
       Town Of West Springfield
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
       26 Central Street
      ______________________________________
                                                           57 Bonair Ave. W. Springfield, MA 01089
      Number            Street

       #8                                                  As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
       W.Springfield         MA 01089
      ______________________________________                   Unliquidated
      City                          State   ZIP Code           Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                    353,268.00
                                                                                                                           $________________


Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                             1
                                                                                                                                                               page 1 of ___
           Case 18-30765                 Doc 18-2          Filed 09/25/18 Entered 09/25/18 12:29:24                                        Desc Schedule
                Kathleen  Guevin                                   D Page 2 of 3
Debtor 1        _______________________________________________________                                Case number (if known)_____________________________________
                 First Name     Middle Name         Last Name




             Additional Page                                                                                        Column A               Column B              Column C
Part 1:                                                                                                             Amount of claim        Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                                              that supports this    portion
                                                                                                                    Do not deduct the
             by 2.4, and so forth.                                                                                  value of collateral.   claim                 If any

   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.
   ______________________________________               Contingent
   City                         State    ZIP Code       Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
   ______________________________________
                                                        Contingent
   ______________________________________               Unliquidated
   City                         State    ZIP Code
                                                        Disputed
 Who owes the debt? Check one.
                                                    Nature of lien. Check all that apply.
     Debtor 1 only
                                                        An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit

     Check if this claim relates to a
                                                        Other (including a right to offset) ____________________
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.
   ______________________________________               Contingent
   City                         State    ZIP Code       Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

           Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
           If this is the last page of your form, add the dollar value totals from all pages.
           Write that number here:                                                                                  $_________________

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___ of ___
           Case 18-30765              Doc 18-2          Filed 09/25/18 Entered 09/25/18 12:29:24                              Desc Schedule
             Kathleen  Guevin
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Debtor 1     _______________________________________________________                            Case number (if known)_____________________________________
              First Name     Middle Name         Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                                                  3 ___
                                                                                           Last 4 digits of account number ___ 0 ___
                                                                                                                                  3 ___
                                                                                                                                     6
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
            Print                          Save As...               Add Attachment                                                           Reset
Official Form 106D                          Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                              page ___ of ___
